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IN THE UNITED STATES DISTRICT COURT '

FOR THE wEsTERN DISTRICT oF TENNESSEE 05 JUH__? PH w th
WESTERN DIVISION

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CLEHK.EAS.EM§Y§EH;

WD.GFTN,MEMHM§

UNITED STATES OF AMERICA,
Plaintiff,

vs. Cr. No. 04-20265 BP

BRIAN BELL,

Defendant.

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ORDER DENYING DEFENDANT'S MOTION FOR DISCOVERY

 

Before the Court is Defendant Brian Bell's Motion for
Discovery, filed on May 3, 2005 (dkt #53). The matter was referred
to the magistrate judge on May 5, 2005. The government responded
on May 31. For the following reasons, the motion is DENIED.

ln Count 3 of the indictment, Bell is charged with possession
of a firearm, in violation of 18 U.S.C. § 922(g). He now seeks an
order requiring the government to disclose the names and addresses
of all the prior owners and/or transferors of the firearms listed
in the indictment.l

Under Federal Rule of Criminal Procedure l€(a)(l)(E)(i), the
Government must disclose items it possesses that are material to

the defense. “In order to convict under 18 U.S.C. § 922(g)(l), the

 

lBell also seeks this information for a revolver that was
seized by government agents but is not a part of the indictment.

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Government must prove the following three elements: {l) that the
defendant had a previous felony conviction, (2} that the defendant
possessed. a firearm, (3) that the firearH\ had traveled in. or
affected interstate commerce.” United States v. Walker, 160 F.3d
1078, 1087 (6th Cir. l998)(citation and quotations omitted); United
States v. Moreno, 933 F.2d 362, 372 n. l (6th Cir. 1991). The
information Bell requests is outside the scope of information that
would, be relevant to prepare a ldefense with respect to these

elements. Accordingly, the motion for discovery is DENIED.

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TU M. PHAM
United States Magistrate Judge

IT IS SO ORDERED.

 

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UNITED sTATE DISTRIC CoURT - WESTERN D's'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 59 in
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Honorable J. Breen
US DISTRICT COURT

